       Case 3:21-cv-00211-BRW-JTK Document 9 Filed 11/03/21 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  NORTHERN DIVISION

RAY A. WOODSON,                                                                       PLAINTIFF
ADC #115898

VS.                                3:21-CV-00211-BRW-JTK

DALE COOK, et al.                                                                  DEFENDANTS

                                             ORDER

       I have reviewed the Proposed Findings and Recommended Disposition submitted by

United States Magistrate Judge Jerome T. Kearney. No objections have been filed. After careful

consideration, the Court concludes that the Proposed Findings and Recommended Disposition

should be, and hereby is, approved and adopted in its entirety as this Court’s findings in all

respects.

       IT IS, THEREFORE, ORDERED THAT:

       1.      Plaintiff’s due process claims are DISMISSED without prejudice for failure to state

a claim on which relief may be granted.

       2.      Plaintiff=s conspiracy claims are DISMISSED without prejudice for failure to state

a claim on which relief may be granted.

       3.      Plaintiff=s claims in connection with charges for medical care are DISMISSED

without prejudice for failure to state a claim on which relief may be granted

       4.      I certify, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis appeal

from any Order adopting these recommendations and the accompanying Judgment would not be

taken in good faith.

       DATED this 3rd day of November, 2021.

                                                      Billy Roy Wilson__________________
                                                      UNITED STATES DISTRICT JUDGE
